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                 EXHIBIT N
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                                                           U.S. Department of Justice

                                                           Andrew E. Lelling
                                                           United States Attorney
                                                           District of Massachusetts
Main Reception: (617) 748-3100                             John Joseph Moakley United States Courthouse
                                                           1 Courthouse Way
                                                           Suite 9200
                                                           Boston, Massachusetts 02210



                                                           March 9, 2020

SENT VIA E-MAIL
Counsel of Record

          Re:       United States v. David Sidoo, et al.
                    Case No. 19-cr-10080-NMG

Dear Counsel:

       We write in response to the February 28, 2020 letter on behalf of all defendants. The
following is a chronological account of the government’s February 26, 2020 production of notes
from Rick Singer’s phone (“8802 phone”) (collectively “Singer Notes”). This letter is produced
pursuant to the agreed-upon protective order.

          1. On September 21, 2018, the government approached Rick Singer about cooperating in
             the investigation of the above-referenced case.

          2. On October 5, 2018, Singer signed a consent to search form for the 8802 phone and
             agents first imaged the phone.1 The government did not treat Singer’s consent to search
             as a waiver of Singer’s attorney-client privilege.

          3. On October 9, 2018, AUSA Chris Looney was assigned as a taint AUSA to assist on
             the above-referenced case.

          4. On October 9, 2018, the government asked Singer’s attorney to confirm that the
             government could search the 8802 phone without a taint protocol.

          5. On October 11, 2018, Singer’s attorney agreed that the government could search the
             8802 phone without a taint protocol, noting that he had reviewed the text messages



          1
         As noted in the government’s February 26, 2020 letter, the phone was imaged on or about
October 5, 2018, October 23, 2018, November 1, 2018, November 29, 2018, January 3, 2019,
February 15, 2019, February 28, 2019, and March 11, 2019. The government has provided copies
of each image.
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           between himself and Singer. Singer’s attorney said nothing about the notes portion of
           Singer’s phone.

       6. On or about October 28, 2018, AUSA Justin O’Connell reviewed a portion of the
          Singer Notes, including part of the “Oct 2” entry.

       7. On October 28, 2018, AUSA O’Connell excerpted a portion of the “Oct 2” entry in
          the Singer Notes and emailed it to AUSA Eric Rosen and the FBI agents assigned to
          the above-referenced case.2

       8. AUSAs Rosen and O’Connell believed that the notes were written by Singer at the
          behest of his attorney and may be privileged, despite the consent to search. As a result,
          they did not further review the Singer Notes.

       9. Between March 5, 2019 and April 9, 2019, the government indicted all of the
          defendants in the above-referenced case.3

       10. On August 18, 2019, AUSA O’Connell notified AUSA Looney that they were going
           to have Singer’s attorney review certain materials from the 8802 phone for potential
           privilege, and that Singer’s attorney would work with AUSA Looney if he found
           anything.

       11. Between August 20-21, 2019, a taint folder was created containing the eight images of
           the 8802 phone. On August 21, 2019, AUSA Looney was granted access to that folder.

       12. On October 4, 2019, AUSA Looney produced a copy of the Singer Notes to Singer’s
           attorney to review for potential privilege.

       13. From at least December 2019 through February 2020, Singer’s attorney was
                                   and did not review the Singer Notes.

       14. On February 1, 2020, AUSA Rosen emailed AUSA Looney, copying Singer’s attorney
           and AUSA O’Connell, stating that Singer’s attorney would redact privileged portions
           of the Singer Notes and send them back in redacted form. AUSA Rosen requested that,
           after that was done, AUSA Looney confirm that anything privileged had been excised
           and they would discuss next steps. AUSA Looney responded that he would look out
           for a copy from Singer’s attorney of the Singer Notes.



       2
         At or about this time, a contract attorney working on the investigation of the above-
referenced case viewed a different portion of the Singer Notes. The contract attorney reported a
portion of what he saw to AUSAs Rosen and O’Connell.
       3
         Defendant Sidoo was indicted on March 5, 2019, although the indictment was then under
seal, and defendants Amy and Greg Colburn were indicted on March 26, 2019. The remaining
defendants were indicted on April 9, 2019.
                                                2
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      15. On February 19, 2020, AUSA Rosen emailed AUSA Looney that the defense group
          wanted certain materials from the 8802 phone. AUSA Rosen asked AUSA Looney to
          pull these materials, and make sure any communications between Singer and his
          attorney were not included.

      16. On February 19, 2020, AUSA Looney began reviewing and extracting the requested
          materials in the 8802 phone. During the course of this project, AUSA Looney reviewed
          the Singer Notes for the first time.

      17. On February 20, 2020, AUSA Looney emailed Singer’s attorney and asked for a sense
          of Singer’s attorney’s timing (regarding the Singer Notes).

      18. Between February 20 and February 24, 2020, AUSA Looney, a taint AUSA supervisor,
          and Singer’s attorney discussed the status of privilege claims regarding the 8802 phone.

      19. On or about February 24, 2020, AUSA Looney and the taint AUSA supervisor obtained
          a privilege waiver from Singer (through Singer’s attorney) for the Singer Notes and
          provided them to the investigative team. On February 26, 2020, the government
          produced the Singer Notes to defendants.

       If you have any questions regarding this timeline, please feel free to contact the
undersigned AUSAs at your convenience.

                                                   Sincerely,

                                                   ANDREW E. LELLING
                                                   United States Attorney

                                            By:    /s/ Karin M. Bell
                                                   Eric S. Rosen
                                                   Justin D. O’Connell
                                                   Kristen A. Kearney
                                                   Leslie A. Wright
                                                   Karin M. Bell
                                                   Assistant U.S. Attorneys




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